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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION


 Honeywell International Inc., Hand Held
 Products, Inc., & Metrologic Instruments,
 Inc.,                                                 Civil Action No. 6:21-cv-1010
                                  Plaintiffs,          _______________
             v.
                                                       JURY TRIAL DEMANDED
 Zebra Technologies Corporation,
                                  Defendants.


                         COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiffs Honeywell International Inc. (“Honeywell International”), Hand Held Products,

Inc. (“Hand Held”), and Metrologic Instruments, Inc. (“Metrologic”) (collectively, “Honeywell”)

file this Complaint for patent infringement against Defendant Zebra Technologies Corporation

(“Zebra”). In support of this action, Honeywell alleges the following:

                                          INTRODUCTION

       1.         This action for damages and injunctive relief arises under the Patent Laws of the

United States, 35 U.S.C. § 271, et seq.

                                           THE PARTIES

       2.         Plaintiff Honeywell International is a Delaware corporation with its principal place

of business at 855 S. Mint Street, Charlotte, NC 28202.

       3.         Plaintiff Hand Held is a Delaware corporation with its principal place of business

at 855 S. Mint Street, Charlotte, NC 28202. Hand Held is a wholly owned and controlled

subsidiary of Honeywell International.
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         4.       Plaintiff Metrologic is a New Jersey corporation with its principal place of business

at 855 S. Mint Street, Charlotte, NC 28202. Metrologic is a wholly owned and controlled

subsidiary of Honeywell International.

         5.       On information and belief, Defendant Zebra Technologies Corporation is a

Delaware corporation with its principal place of business at 3 Overlook Point, Lincolnshire, IL

60069.

                                   JURISDICTION AND VENUE

         6.       The Court has federal question jurisdiction over this action pursuant to 28 U.S.C.

§§ 1331 and 1338(a) because this action involves a claim arising under the Patent Laws of the

United States, 35 U.S.C. § 1, et seq.

         7.       The Court has personal jurisdiction over Zebra because Zebra has regularly and

systematically transacted business in and with the residents of this judicial district, including

maintaining at least one physical office in this district at 507 E Howard Lane, Bldg 1, Austin,

Texas 78753. See Ex. F. On information and belief, Zebra invested more than $2 million to

construct its Austin office, which occupies more than 26,000 square ft. See Ex. G.

         8.       On information and belief, Zebra employs a variety of personnel at its Austin

location, including individuals with roles in strategy and innovation; engineering; manufacturing;

sales; product management; software, electrical, and mechanical compliance; business and IT

operations; and data science.

         9.       On information and belief, Zebra uses its Austin office to conduct work related to

handheld devices, mobile computers, and a range of accessories.

         10.      On information and belief, Zebra’s wholly owned subsidiary—Xplore

Technologies Corp.—is headquartered in Austin, Texas with numerous Xplore employees living

in and around Austin, Texas. See Ex. H.
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       11.       Venue is proper in this judicial district for Zebra, pursuant to 28 U.S.C. §§ 1400

and 1391(b) and (c), because Zebra has committed acts of infringement in this judicial district—

including selling and distributing infringing products—and because Zebra maintains a regular and

established place of business in this judicial district—including its 26,000 square ft. office in

Austin, Texas.

                                    THE PATENTS-IN-SUIT

       12.       Honeywell    accuses   Zebra   of   infringing   U.S.   Patent     Nos.   7,527,206

(“the ’206 patent”), 9,148,474 (“the ’474 patent), 9,578,269 (“the ’269 patent”), 9,929,906

(“the ’906 patent”) and 10,171,767 (“the ’767 patent”) (collectively, the “Asserted Patents”).

       13.       The ’206 patent, titled “Method of Setting the Time Duration of Illumination From

an LED-Based Illumination Array Employed in a Digital Imaging-Based Code Symbol Reader,

Using an Image-Processing Based Illumination Metering Program Executed Therewithin,” issued

on May 5, 2009. Xiaoxun Zhu, Yong Liu, Ka Man Au, Rui Hou, Hongpeng Yu, Xi Tao, Liang

Liu; Wenhua Zhang, and Anatoly Kotlarsky are the joint inventors of the ’206 patent. A certified

copy of the ’206 patent is attached as Exhibit A.

       14.       The ’767 patent, titled “Image Reader Comprising CMOS Based Image Sensor

Array,” issued on January 1, 2019. Ynjiun P. Wang and William H. Havens are joint inventors of

the ’767 patent. A certified copy of the ’767 patent is attached as Exhibit B.

       15.       The ’474 patent, titled “Replaceable Connector,” issued on September 29, 2015.

Matthew Skvoretz is the sole inventor of the ’474 patent. A certified copy of the ’474 patent is

attached as Exhibit C.

       16.       The ’269 patent, titled “Image Reader Comprising CMOS Based Image Sensor

Array,” issued on February 21, 2017. Ynjiun P. Wang and William H. Havens are joint inventors

of the ’269 patent. A certified copy of the ’269 patent is attached as Exhibit D.
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       17.     The ’906 patent, titled “Data Collection System Having EIR Terminal Interface

Node,” issued on March 27, 2018. James Kosecki and Aldo Mario Caballero are joint inventors

of the ’906 patent. A certified copy of the ’906 patent is attached as Exhibit E.

       18.     Each Asserted Patent is presumed valid after receiving a thorough examination by

the USPTO. See 35 U.S.C. § 282.

       19.     The Asserted Patents are a reflection of Honeywell’s innovations, and, as described

herein, all contain limitations that, either individually or collectively, are directed to inventive

concepts that were unconventional and not well known or routine. These inventive concepts, as

set forth and claimed in the Asserted Patents, have resulted in immense commercial success of the

claimed inventions and the long felt but unsolved needs Honeywell filled with the claimed

inventions. In recognition of the innovative nature of the inventions disclosed and claimed in the

Asserted Patents, competitors in the relevant industry have sought and obtained licenses to these

patents. For example, Honeywell’s products embodying the ’269 and ’767 patents captured the

majority of the relevant market in 2007, and Honeywell’s market share was reduced only when

competitors—such as Zebra—incorporated the claimed inventions into their products. In many

instances this use led to licensing of the Asserted Patents. See, e.g., Certain Barcode Scanners,

Scan Engines, Products Containing The Same, And Components Thereof, 337-TA-1165, 2020 WL

1504750 (Feb. 27, 2020) (granting joint motion to dismiss based on settlement and license).

       20.     Honeywell provided Zebra with notice of the Asserted Patents in accordance with

35 U.S.C. § 287. For example, Honeywell provided Zebra with constructive notice of the Asserted

Patents by virtually marking its patent-practicing products in a substantially consistent and

continuous manner. See Ex. YY–EEE.




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                                          BACKGROUND

A.     Honeywell

       21.     Honeywell traces its roots to 1904 and an engineer named Mark Honeywell from

Wabash, Indiana who developed and installed the first hot-water-heating system in the United

States. Honeywell would later play a key role in U.S. war efforts, inventing and manufacturing

the first electronic autopilot system. After entering the computer business through a merger with

Raytheon Corporation in 1957, Honeywell developed and engineered the instruments that safely

landed Neil Armstrong and Buzz Aldrin on the moon.

       22.     Research is one of the keys to Honeywell’s success and provides the necessary

cornerstone for its cutting-edge products. As a result of its research and development efforts,

Honeywell owns over 27,000 patents. These patents cover a wide range of technologies relating

to mobile computers, barcode scanners, wearable technology, human interface devices, and

various components thereof.

B.     Hand Held

       23.     Honeywell acquired Hand Held in December 2007. Hand Held now operates as

part of Honeywell Safety and Productivity Solutions.

       24.     Hand Held was founded in Charlotte, North Carolina. It provides barcode reading

and image collection solutions for a variety of applications including mobile, wireless, and

transaction processing. These products include barcode scanners, computer devices, printers,

wearable technology, software, and RFID devices. These devices provide innovative solutions for

factories, healthcare and manufacturing facilities, and retail environments. As a result of Hand

Held’s innovative designs and product features, its products have become commonplace in

hospitals and other healthcare facilities because of their reliability, accuracy, and versatility.



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       25.      Hand Held has long been a pioneer in barcode scanning technology. For example,

Hand Held developed ground-breaking global-shutter technology in CMOS-based barcode

scanners. The global shutter technique allows a barcode scanner to capture all lines of the barcode

simultaneously, instead of just one by one. Products incorporating Honeywell’s patented global

shutter technique were—and still are—far superior to scan engines utilizing a rolling shutter,

resulting in significant commercial success for Honeywell’s global-shutter products.

       26.      As a result of its research and development efforts, Hand Held owns about 1,900

patents. These patents cover a wide range of technologies relating to mobile computers, barcode

scanners, wearable technology, human interface devices, and various components thereof.

C.     Metrologic

       27.      Honeywell acquired Metrologic in July 2008. Metrologic operates alongside Hand

Held as part of Honeywell Safety and Productivity Solutions.

       28.      Metrologic was founded in 1968 and developed the first hand-held laser barcode

scanner, known as the X-scanner, in the 1970s. Metrologic is an industry leader in data capture

and collection hardware and software. During the birth of the Universal Product Code, Metrologic

introduced triggerless, omnidirectional, and mini-slot scanners into the retail market to help read

and decode these new barcodes. Since these breakthroughs, Metrologic’s technologies have

included barcode computing, software for barcode scanners optimization, and wireless

communication network infrastructure.

       29.      As a result of its research and development efforts, Metrologic owns about 300

patents. These patents cover a wide variety of technologies in the areas of laser and imaging

technologies.




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                            ZEBRA’S INFRINGING ACTIVITIES

       30.     Zebra is a direct competitor of Honeywell. See, e.g., Ex. QQ–XX (internal Zebra

Selling Guides comparing Honeywell’s products to Zebra’s products).

       31.     Zebra has infringed and continues to infringe on Honeywell’s valuable and

proprietary intellectual property, including at least the Asserted Patents.         Zebra is using

Honeywell’s patented technology without a license or Honeywell’s permission.

       32.     According to Zebra, it manufactures, sells, and offers for sale products and services

related to “Barcode Printing, Mobile Computing, Data Capture, Locationing, Data Platforms,

Software, Services, Supplies.” Ex. I at 2. Zebra also purports to be “#1 by market share” for

“Enterprise Mobile Computing” and “Barcode Scanning.” Ex. J at 1.

       33.     Zebra had actual knowledge of all Asserted Patents and of Honeywell’s

infringement allegations at least as early as the filing of this Complaint.

       34.     Zebra’s actions are at least objectively reckless as to the risk of infringing a valid

patent and this objective risk was either known or should have been known by Zebra.

       35.     Upon information and belief, Zebra has actively monitored Honeywell’s patent-

marked products since as early as 2015 as part of its ordinary course of business, and Zebra views

at least some of those products to be in direct competition with at least some of Zebra’s Accused

Products. See, e.g., Ex. QQ–XX (internal Zebra Selling Guides comparing Honeywell’s products

to Zebra’s products).

       36.     Zebra’s infringing barcode scanning products include at least Zebra’s CC5000-10,

CC600, CC6000, CS3000, CS4070, CS4070-HC, CS6080, CS6080-HC, DS2200, DS2208,

DS2278, DS3508, DS3578, DS3600, DS3608, DS3608-DP, DS3608-ER, DS3608-HD, DS3608-

HP, DS3608-SR, DS3678, DS3678-DP, DS3678-ER, DS3678-HD, DS3678-HP, DS3678-SR,

DS4208, DS4308, DS457, DS4600, DS4608-DPE, DS4608-HD, DS4608-SR, DS4608-HC,
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DS4800-HC, DS6607, DS6608, DS6700, DS6707, DS6808, DS6878, DS7708, DS8100, DS8108,

DS8108-HC, DS8178, DS8178-HC, DS9208, DS9308, DS9808, DS9908, DS9908-HD,

DS9908R, DS9908R-HD, LI2208, LI3608, LI3608-ER, LI3608-SR, LI3678-ER, LI3678-SR,

LI4278, LS1203, LS1203-HD, LS2208, LS3008, LS3408, LS3578, LS4208, LS4278, LS7708,

LS7808, LS9203i, LS9208i, M60-200904, MK3100, MK500, MP6000, MP7000, MS954, PS20,

RFD2000, RFD8500, RS4000, RS419, RS5000, RS507X, RS5100, and RS6000 (collectively,

Zebra’s “Infringing Barcode Scanners”).

       37.     On information and belief, Zebra began marketing and selling certain Infringing

Barcode Scanners for sale at least as early as 2015.

       38.     Zebra’s infringing mobile computing products include at least Zebra’s EC30,

EC50, EC55, ET51, ET56, ET5X-10SCN5-02, MC2100, MC2180, MC2200, MC2700, MC3200,

MC3300, MC3300x, MC3330R, MC3330xR, MC3390R, MC3390xR, MC67, MC9200, MC9300,

MT2070, MT2090, RS6000, TC21, TC21-HC, TC26, TC26-HC, TC51, TC51-HC, TC52, TC52-

HC, TC52X, TC52x-HC, TC56, TC57, TC57X, TC70, TC72, TC75, TC77, TC8000, TC8300,

XPAD L10, XPAD L10 ATEX, XSLATE B10/D10 Barcode Reader Module, and XSLATE R12

(collectively, Zebra’s “Infringing Mobile Computers”).

       39.     On information and belief, Zebra began marketing and selling certain Infringing

Mobile Computers for sale at least as early as 2015.

       40.     Zebra’s infringing scan engines include at least Zebra’s SE4750, SE4750 DPM,

SE4750SR, and SE4770 (collectively, Zebra’s “Infringing Scan Engines”).

       41.     On information and belief, Zebra began marketing and selling certain Infringing

Scan Engines for sale at least as early as 2015.




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       42.     Zebra’s Infringing Barcode Scanners, Infringing Mobile Computers, and Infringing

Scan Engines are collectively the “Accused Products.”

                                   COUNT I
                     INFRINGEMENT OF U.S. PATENT NO. 7,527,206

       43.     Honeywell incorporates by reference the allegations contained in all preceding

paragraphs.

       44.     The ’206 patent is valid and enforceable.

       45.     Metrologic owns the entire right, title, and interest to the ’206 patent.

       46.     Zebra has directly infringed and continues to directly infringe at least claim 20 of

the ’206 patent—both literally and under the doctrine of equivalents—by making, using, selling,

and/or offering for sale products that embody the inventions disclosed in the ’206 patent, including

Zebra’s DS8108.

       47.     Zebra’s DS8108 is a digital-imaging based code symbol reading system including

a housing having a light transmission window.




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Ex. EE (DS8108 Reference Guide) at 35.

       48.    Zebra’s DS8108 includes an image formation and detection subsystem having an

image sensing array and image formation optics having a field of view (FOV) defined relative to

said light transmission window.




Ex. EE (DS8108 Reference Guide) at 59.


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       49.     Zebra’s DS8108 includes a trigger switch integrated with said housing, for

generating a trigger event in response to an operator manually-actuating said trigger switch when

an object is presented within said FOV for digital imaging.




Ex. EE (DS8108 Reference Guide) at 41.

       50.     Zebra’s DS8108 includes an illumination subsystem, disposed in said housing, and

having with an LED-based illumination array for producing a field of illumination with said FOV

during object illumination and imaging operations.




Ex. EE (DS8108 Reference Guide) at 41.


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Ex. EE (DS8108 Reference Guide) at 384.

       51.     On information and belief, Zebra’s DS8108 includes an illumination measurement

subsystem, disposed in said housing, for automatically measuring the level of illumination at a

particular region of said FOV during object illumination and imaging operations, and determining

and storing an illumination duration necessary to achieve a desired spatial intensity in a digital

image to be formed and detected by said information and detection subsystem; an illumination

control subsystem, disposed in said housing, and using said illumination duration determined by

said illumination measurement subsystem so as to control the time duration that said LED-based

illumination array is driven during object illumination and imaging operations.

       52.     Zebra’s DS8108 includes a programmed image processor, disposed in said housing,

and supporting an image-processing based illumination metering program, and decode processing

of one or more digital images formed and detected by said image formation and detection

subsystem so as to read one or more 1D and/or 2D code symbols represented in said digital images.




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Ex. EE (DS8108 Reference Guide) at 60.

       53.     Zebra’s DS8108 includes a system control subsystem, disposed in said housing, for

controlling and/or coordinating the operations of one or more of said subsystems and components

identified above.




Ex. EE (DS8108 Reference Guide) at 359; see also id. at 541 (“operating system”).

       54.     Zebra also indirectly infringed and continues to indirectly infringe at least claim 20

of the ’206 patent with knowledge or by being willfully blind that its actions constitute

infringement, at least as of the filing of this Complaint.

       55.     On information and belief, Zebra had knowledge of or was willfully blind to the

’206 patent before Honeywell filed this suit. In fact, the Patent Office cited to U.S. Patent

Publication No. 2008/0135620—an application in the same patent family as the ’206 patent—in

an office action rejection of U.S. Patent Application No. 11/739,888, which is an application

assigned to Zebra’s wholly owned and controlled subsidiary, Symbol Technologies, Inc. See

Ex. K. U.S. Patent No. 7,240,844—a patent in the same family as the ’206 patent—also was

discussed in detail in an international search report for PCT/US2009/038330, which is an

application also assigned to Zebra’s wholly owned and controlled subsidiary, Symbol

Technologies, Inc. See Ex. L.

       56.     Zebra has induced and continues to induce infringement of the ’206 patent by

providing information and instruction on using the Accused Products in an infringing manner

evidence at least by: (i) the marketing and sales materials provided to its customers and potential

customers through its website and its other marketing activities, e.g., Ex. SS–TT (TC75 Selling
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Guide), VV (DS8100 Selling Guide); (ii) the instructions and information contained in Zebra’s

product guides and instructional materials; e.g., Ex. X–Z (TC75), EE–GG(DS8108); and (iii)

instructional videos published by Zebra on YouTube, e.g., Zebra DS8100: How to Set Up Your

Scanner          For         Document            Capture           (Jan.       18,         2018),

https://www.youtube.com/watch?v=0RzV1Fhl6q4&t=10s.             Zebra knew its activities were

inducing infringement at least through actively comparing its products to Honeywell’s products

and copying Honeywell’s patented technology. See, e.g., Ex. QQ–XX.

       57.     Zebra contributes to infringement of the ’206 patent by others by manufacturing,

marketing, and selling the Accused Products, which are especially made for infringing use, with

the knowledge that such use is infringing, and with the knowledge that these products are put to

such infringing uses.

       58.     Despite its knowledge of the ’206 patent, Zebra infringed and continues to infringe

that patent. Accordingly, Zebra’s infringement has been willful.

       59.     As a result of Zebra’s infringement of the ’206 patent, Honeywell has suffered and

continues to suffer irreparable harm for which it has no adequate remedy at law. Unless enjoined

by this Court, Zebra’s infringement will continue, resulting in further irreparable harm to

Honeywell.

       60.     Honeywell is entitled to recover damages from Zebra not less than a reasonable

royalty adequate to compensate for the infringement.

       61.     Zebra’s unlawful actions have caused, and will continue to cause, Honeywell

irreparable harm to its business and reputation unless enjoined.




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                                   COUNT II
                     INFRINGEMENT OF U.S. PATENT NO. 9,148,474

       62.     Honeywell incorporates by reference the allegations contained in all preceding

paragraphs.

       63.     The ’474 patent is valid and enforceable.

       64.     Hand Held owns the entire right, title, and interest to the ’474 patent.

       65.     Zebra has directly infringed and continues to directly infringe at least claim 1 of the

’474 patent—both literally and under the doctrine of equivalents—by making, using, selling,

and/or offering for sale products that embody the inventions disclosed in the ’474 patent, including

Zebra’s TC52 mobile computing product.

       66.     Zebra’s TC52 mobile computing product includes an interface connector that

facilitates the use of a TC52 product with a docking station (also known as a ShareCradle), such

as the CRD-TC51-1SCU-01, shown below:




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Ex. NN (Zebra TC5X Accessories Guide).

       67.     The interface connector includes a connector body and multiple connector pads,

each pad having an external surface configured to electrically connect to corresponding contacts

in the docking station as shown in the photo below in which the interface connector is numbered

as 11 and which illustrates seven circular external surfaces of seven connector pads:




Ex. OO (TC52 User Guide) at 17.

       68.     The interface connector includes a releasable attachment mechanism that allows

the interface connector to be attached to and detached from the TC52 as discussed in the TC52

Integrator’s Guide in the excerpt shown below:




Ex. PP (TC52 Integrator Guide) at 33 (emphasis added).

   69. The interface connector detached from the TC52 using a pair of needle nose pliers:


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Zebra Mobility DNA: It’s a Zebra Android Tool–StageNow, at 33 seconds (Nov. 28, 2017),

https://www.youtube.com/watch?v=hKvNdef_TQY.

       70.     This combination of features infringes at least claim 1 of the ’474 patent.

       71.     Zebra also indirectly infringed and continues to indirectly infringe at least claim 1

of the ’474 patent with knowledge or by being willfully blind that its actions constitute

infringement of those claims, at least as of the filing of this Complaint.

       72.     Zebra has induced and continues to induce infringement of the ’474 patent by

providing information and instruction on using the Accused Products in an infringing manner

evidence at least by: (i) the marketing and sales materials provided to its customers and potential

customers through its website and its other marketing activities, e.g., Ex. SS–TT (TC75 Selling

Guide), VV (DS8100 Selling Guide); (ii) the instructions and information contained in Zebra’s

product guides and instructional materials; e.g., Ex. X–Z (TC75), EE–GG (DS8108); and (iii)

instructional videos published by Zebra on YouTube, e.g., Zebra Mobility DNA: It’s a Zebra

Android Tool–StageNow (Nov. 28, 2017), https://www.youtube.com/watch?v=hKvNdef_TQY.

Zebra knew its activities were inducing infringement at least through actively comparing its




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products to Honeywell’s products and copying Honeywell’s patented technology. See, e.g.,

Ex. QQ–XX.

       73.     Honeywell also has consistently and continuously marked its products with the

’474 patent since at least 2020. See Ex. DDD–EEE. And, upon information and belief, Zebra

tracks Honeywell’s products, including producing internal marketing materials directly comparing

Zebra’s products to Honeywell’s products, including those consistently and continuously marked

with the ’474 patent. See Ex. QQ (TC52/TC57 Selling Guide); Ex. SS–TT (TC75 Selling Guide);

Ex. UU (DS3600 Series Selling Guide); Ex. VV (DS8100 Selling Guide); Ex. XX (MC9300

Series Selling Guide).

       74.     Zebra contributes to infringement of the ’474 patent by others by manufacturing,

marketing, and selling the Accused Products, which are especially made for infringing use, with

the knowledge that such use is infringing, and with the knowledge that these products are put to

such infringing uses.

       75.     Despite its knowledge of the ’474 patent, Zebra infringed and continues to infringe

the ’474 patent. Accordingly, Zebra’s infringement was willful.

       76.     As a result of infringement of the ’474 patent, Honeywell has suffered and

continues to suffer irreparable harm for which it has no adequate remedy at law. Unless enjoined

by this Court, Zebra’s infringement will continue, resulting in further irreparable harm to

Honeywell.

       77.     Honeywell is entitled to recover damages from Zebra not less than a reasonable

royalty adequate to compensate for the infringement.

       78.     Zebra’s unlawful actions have caused, and will continue to cause, Honeywell

irreparable harm to its business and reputation unless enjoined.



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                                  COUNT III
                     INFRINGEMENT OF U.S. PATENT NO. 9,578,269

       79.     Honeywell incorporates by reference the allegations contained in all preceding

paragraphs.

       80.     The ’269 patent is valid and enforceable.

       81.     Hand Held owns the entire right, title, and interest to the ’269 patent.

       82.     Zebra has directly infringed and continues to directly infringe at least claim 1 of the

’269 patent—both literally and under the doctrine of equivalents—by making, using, selling,

and/or offering for sale products that embody the inventions disclosed in the ’269 patent, including

Zebra’s TC75 and Zebra’s DS8108.

       83.     To the extent the preamble is limiting, Zebra’s TC75 is a barcode reading device:




Ex. Y (TC75 User Guide) at 18.




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Ex. Y (TC75 User Guide) at 109.

       84.     Zebra’s TC75 includes an SE4750 scan engine imager comprising a plurality of

pixels in a two-dimensional array:




Ex. Y (TC75 User Guide) at 191.

       85.     The SE4750 imager in the TC75 includes, upon information and belief, an AR0134

image sensor which is operable, in a global shutter mode, to collect image data comprising at least

a representation of a two-dimensional barcode from a target:




Ex. Y (TC75 User Guide) at 191.




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Ex. DD (SE4750 Integration Guide) at 12.




Ex. AA (AR0134 Datasheet) at 4.

       86.    In the global shutter mode of Zebra’s TC75—containing a SE4750 imager—all or

substantially all of the plurality of pixels in the CMOS image sensor are configured to be

simultaneously exposed in response to an exposure control timing pulse to enable the collection

of image data in the form of a one-dimensional barcode and a two-dimensional barcode:




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Ex. AA (AR0134 Datasheet) at 3. See also the AR0134 Datasheet that includes a block diagram

of the architecture of the AR0134 image sensor, including a “Timing and Control” block:




Ex. AA (AR0134 Datasheet) at 3.

       87.    Zebra’s TC75 contains a processor:




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Ex. Y (TC75 User Guide) at 190; see also Ex. Z (TC70X/TC75X User Guide) at 223.

        88.     Zebra’s TC75 contains at least one illumination light source configured to

illuminate at least a portion of the target:




Ex. Y (TC75 User Guide) at 191. See also annotated image of scan engine from TC75 annotated

with red arrows to identify LEDs.




        89.     Zebra’s TC75’s processor is configured to coordinate an exposure control timing

pulse and an illumination control timing pulse such that the illumination control timing pulse is

transmitted to the at least one illumination light source as a result of the exposure control timing

pulse and the illumination light source responds by illuminating the target:




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Ex. AA (AR0134 Datasheet) at 2.




Ex. AA (AR0134 Datasheet) at 3. The AR0134 Developer Guide states that the Flash output signal

indicates when exposure of the AR0134 imaging sensor takes place.




Ex. BB (AR0134 Developer Guide) at 17. See also testing data for the SE4750 showing

illumination (in green) and exposure (in yellow):




                                               24
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       90.      Zebra’s TC75 contains a non-transitory memory including computer program

instructions:




Ex. Y (TC75 User Guide) at 190.




Ex. Z (TC70X/TC75X User Guide) at 221.




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       91.     The non-transitory memory and the computer program instructions in Zebra’s

TC75 are configured to, when executed by the processor, cause the apparatus to search the image

data collected in the global shutter mode for one or more markers indicative of a presence of at

least one barcode symbol:




Ex. Y (TC75 User Guide) at 109; see also, e.g., Ex. Z (TC70X/TC75X User Guide) at 122.

       92.     To confirm that the TC75 searches for markers, two 1D UPC-A barcodes as shown

below were scanned by the TC75, with the only difference between them being that the barcode

on the left included the marker indicated by the red box while the marker was removed from the

barcode on the barcode on the right. The TC75 was able to decode the barcode on the left, but not

the barcode on the right.




       93.     The same test was repeated for the 2D barcodes (QR codes) shown below, which

again are identical except that the barcode on the left includes the three markers indicated by the



                                                26
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red boxes while those markers were removed from the barcode on the right. Again, the TC75 was

able to decode the barcode on the left, but not the barcode on the right.




       94.     The non-transitory memory and the computer program instructions in Zebra’s

TC75 are configured to, when executed by the processor, cause the apparatus to, in an instance in

which at least one marker of the one or more markers is detected, decode the image data based on

the at least one marker:




Ex. Y (TC75 User Guide) at 109.

       95.     To the extent the preamble is limiting, Zebra’s DS8108 is barcode reading device:




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Ex. FF (DS8100 Datasheet) at 1.




Ex. EE (DS8108 Reference Guide) at 10-4.

       96.    Zebra’s DS8108 includes a CMOS image sensor comprising a plurality of pixels in

a two-dimensional array, as shown in the following teardown images of Zebra’s DS8108:




       97.    Zebra’s DS8108 contains an AR0134 image sensor, which is operable, in a global

shutter mode, to collect image data comprising at least a representation of a two-dimensional

barcode from a target:




                                             28
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Ex. AA (AR0134 Data Sheet) at 4.




                                      29
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Ex. AA (AR0134 Data Sheet) at 1.

       98.     In the global shutter mode of Zebra’s DS8108—containing an AR0134 image

sensor—all or substantially all of the plurality of pixels in the CMOS image sensor are configured

to be simultaneously exposed in response to an exposure control timing pulse that enables the

collection of image data in the form of one-dimensional and two-dimensional barcodes:




                                               30
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Ex. AA (AR0134 Datasheet) at 3. See also the AR0134 Datasheet that includes a block diagram

of the architecture of the AR0134 image sensor, including a “Timing and Control” block:




Ex. AA (AR0134 Datasheet) at 3.

       99.     Zebra’s DS8108 contains a processor:




Ex. FF (DS8100 Datasheet) at 1.

       100.    Zebra’s DS8108 contains at least one illumination light source, two 645 nm red

LEDs, configured to illuminate at least a portion of the target:




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Ex. FF (DS8100 Datasheet) at 3.

       101.    Zebra’s DS8108’s processor is configured to coordinate an exposure control timing

pulse and an illumination control timing pulse such that the illumination control timing pulse is

transmitted to the at least one illumination light source as a result of the exposure control timing

pulse and the illumination light source responds by illuminating the target:




Ex. GG (DS8108 Quick Start Guide) at 3.



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Ex. AA (AR0134 Datasheet) at 2.




Ex. AA (AR0134 Datasheet) at 3 (Figure 1). See also testing data for the SE4750, which

includes an AR0134 image sensor that is also found in the DS8108, showing illumination (in

green) and exposure (in yellow):




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       102.     Zebra’s DS8108 contains a non-transitory memory including computer program

instructions:




Ex. EE (DS8108 Reference Guide) at 4-1; see also, e.g., id. at 5-6, 5-10, 6-1, 6-3, 7-1, 7-3, 8-1, 8-

3, 9-1, 9-2, 10-1, 10-2, 11-1, 11-2, 12-1, 12-2, 13-4, 13-5.

       103.     The non-transitory memory and the computer program instructions in Zebra’s

DS8108 are configured to, when executed by the processor, cause the apparatus to search the image

data collected in the global shutter mode for one or more markers indicative of a presence of at

least one barcode symbol:




Ex. EE (DS8108 Reference Guide) at 4-1; see also, e.g., id. at 5-6, 5-10, 6-1, 6-3, 7-1, 7-3, 8-1, 8-

3, 9-1, 9-2, 10-1, 10-2, 11-1, 11-2, 12-1, 12-2, 13-4, 13-5.

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Ex. EE (DS8108 Reference Guide) at 10-16.




Ex. AA (AR0134 Datasheet) at 1.




Ex. FF (DS8100 Datasheet) at 1.

       104.    To confirm that the DS8108 searches for markers, two 1D UPC-A barcodes as

shown below were scanned by the DS8108, with the only difference between them being that the

barcode on the left included the marker indicated by the red box while the marker was removed

from the barcode on the barcode on the right. The DS8108 was able to decode the barcode on the

left, but not the barcode on the right.

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       105.    The same test was repeated for the 2D barcodes (QR codes) shown below, which

again are identical except that the barcode on the left includes the three markers indicated by the

red boxes while those markers were removed from the barcode on the right. Again, the DS8108

was able to decode the barcode on the left, but not the barcode on the right.




       106.    The non-transitory memory and the computer program instructions in Zebra’s

DS8108 are configured to, when executed by the processor, cause the apparatus to, in an instance

in which at least one marker of the one or more markers is detected, decode the image data based

on the at least one marker:




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Ex. EE (DS8108 Reference Guide) at 11-1.




Ex. EE (DS8108 Reference Guide) at 10-4.




Ex. EE (DS8108 Reference Guide) at 11-2.




Ex. FF (DS8100 Datasheet) at 4.




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       107.    Zebra also indirectly infringed and continues to indirectly infringe at least claim 1

of the ’269 patent with knowledge or by being willfully blind that its actions constitute

infringement of those claims, at least as of the filing of this Complaint.

       108.    On information and belief, Zebra had knowledge of or was willfully blind to the

’269 patent before Honeywell filed this suit. In fact, the Patent Office cited to U.S. Patent No.

7,568,628 and 8,733,660—parents to the ’269 patent—in office action rejections during the

prosecution of U.S. Patent Nos. 7,815,120, 8,474,723, 8,902,353, and 9,792,477, which are patents

assigned to Zebra’s wholly owned and controlled subsidiary, Symbol Technologies, Inc. See

Ex. M–P. U.S. Patent Publication No. 2014/0204257—which issued as the ’269 patent—was also

extensively discussed in the International Search Report for PCT/US2017/025920, which also

listed every member of the ’269 patent’s family—including the ’269 patent. See Ex. Q. In

addition, Zebra’s wholly owned and controlled subsidiary, Symbol Technologies, Inc., expressly

listed U.S. Patent No. 7,568,628, 7,909,257, and 8,733,660—parents of the ’269 patent—in

Information Disclosure Statements filed during the prosecution of U.S. Patent Nos. 8,998,089,

9,756,215, 10,142,531, 10,769,394, and 10,929,623. See Ex. R–V.

       109.    Zebra has induced and continues to induce infringement of the ’269 patent by

providing information and instruction on using the Accused Products in an infringing manner

evidence at least by: (i) the marketing and sales materials provided to its customers and potential

customers through its website and its other marketing activities, e.g., Ex. SS–TT (TC75 Selling

Guide), VV (DS8100 Selling Guide); (ii) the instructions and information contained in Zebra’s

product guides and instructional materials; e.g., Ex. X–Z (TC75), EE–GG(DS8108); and (iii)

instructional videos published by Zebra on YouTube, e.g., TC75 Overview (June 2, 2015),

https://www.youtube.com/watch?v=HeyAVSJ3V1o (TC75); Zebra DS8100: How to Set Up Your



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Scanner          For         Document           Capture           (Jan.        18,         2018),

https://www.youtube.com/watch?v=0RzV1Fhl6q4&t=10s (DS8108). Zebra knew its activities

were inducing infringement at least through actively comparing its products to Honeywell’s

products and copying Honeywell’s patented technology. See, e.g., Ex. QQ–XX.

       110.    Honeywell has consistently and continuously marked its products with the ’269

patent since at least 2019. See Ex. CCC–EEE. And, upon information and belief, Zebra tracks

Honeywell’s products, including producing internal marketing materials directly comparing

Zebra’s products to Honeywell’s products, including those consistently and continuously marked

with the ’269 patent. See Ex. QQ (TC52/TC57 Selling Guide); Ex. SS–TT (TC75 Selling Guide),

Ex. UU (DS3600 Series Selling Guide); Ex. VV (DS8100 Selling Guide); Ex. XX (MC9300

Series Selling Guide).

       111.    Zebra contributes to infringement of the ’269 patent by others by manufacturing,

marketing, and selling the Accused Products, which are especially made for infringing use, with

the knowledge that such use is infringing, and with the knowledge that these products are put to

such infringing uses.

       112.    Despite its knowledge of the ’269 patent, Zebra infringed and continues to infringe

the ’269 patent. Accordingly, Zebra’s infringement was willful.

       113.    As a result of Zebra’s infringement of the ’269 patent, Honeywell has suffered and

continues to suffer irreparable harm for which it has no adequate remedy at law. Unless enjoined

by this Court, Zebra’s infringement will continue, resulting in further irreparable harm to

Honeywell.

       114.    Honeywell is entitled to recover damages from Zebra not less than a reasonable

royalty adequate to compensate for the infringement.



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       115.    Zebra’s unlawful actions have caused, and will continue to cause, Honeywell

irreparable harm to its business and reputation unless enjoined.

                                  COUNT IV
                     INFRINGEMENT OF U.S. PATENT NO. 9,929,906

       116.    Honeywell incorporates by reference the allegations contained in all preceding

paragraphs.

       117.    The ’906 patent is valid and enforceable.

       118.    Hand Held owns the entire right, title, and interest to the ’906 patent.

       119.    Zebra has directly infringed and continues to directly infringe at least claim 1 of the

’906 patent—both literally and under the doctrine of equivalents—by making, using, selling,

and/or offering for sale products that embody the inventions disclosed in the ’906 patent, including

Zebra’s StageNow mobility management tool.

       120.    Zebra’s StageNow mobility management tool for Zebra Android Mobile

Computers provides a “centralized Enterprise Mobility Management (EMM) solution” that allows

“any size organization to easily and remotely stage a handful or hundreds of Android devices with

a quick scan of a barcode or tap on an NFC tag.” Ex. HH (StageNow Fact Sheet) at 1. StageNow

is part of Zebra’s Mobility DNA architecture. See id. As Zebra explains:




Ex. II (StageNow TechDocs) at 1.

       121.    The Zebra Mobile Computers that support StageNow include, at least: ET5X,

MC18, MC32, MC33, MC33XX, MC40, MC67, MC92, MC9300, PS20, TC20, TC25, TC51,


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TC52, TC55, TC56, TC57, TC70, TC70X, TC72X, TC75, TC75X, TC77X, TC8000, TC8300,

VC80X, VC8300, and WT6X. See Ex. JJ (Zebra DNA Developer Portal). For example, the Zebra

MC9300 Android product is an EIR terminal. StageNow is configured to build and transmit a

reprogramming message to at least one symbol reading device from amongst the plurality of

symbol reading devices for at least one of a configuration, re-configuration, and a system upgrade

of the symbol reading device. See id.

       122.    StageNow also allows a desktop computer equipped with a wireless network

interface card to act as a Wi-Fi hotspot for staging devices, thus enabling staging without requiring

an external wireless network and reducing the number of barcodes and eliminating the need to

reprint barcodes if a profile changes.        See Ex. KK (StageNow Getting Started).            The

reprogramming record includes, for example, a binary file identifier for updating using an OS

update zip file or OS update package containing a staging profile that contains a command to

download content from a staging server. The reprogramming message may comprise a binary file

comprising instructions to be executed by the at least one symbol reading device from amongst

the plurality of symbol reading devices using an OS update zip file or OS update package

containing a staging profile that contains a command to download content from a staging server.

Ex. LL (StageNow Stage Client).

       123.    The reprogramming message may comprise software configuration parameters

corresponding to the plurality of symbol reading devices such as AccessMgr, AnalyticsMgr,

AppMgr, and Batch. Ex. MM (StageNow Xpert Mode). The reprogramming message may

comprise a script file comprising a sequence of commands to be executed by the at least one

symbol reading device from amongst the plurality of symbol reading devices, wherein the symbol




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reading devices are configured to decode machine readable symbols comprising coded

information. See id.

       124.    Zebra also indirectly infringed and continues to indirectly infringe at least claim 1

of the ’906 patent with knowledge or by being willfully blind that its actions constitute

infringement of those claims, at least as of the filing of this Complaint.

       125.    Zebra has induced and continues to induce infringement of the ’906 patent by

providing information and instruction on using the Accused Products in an infringing manner

evidence at least by: (i) the marketing and sales materials provided to its customers and potential

customers through its website and its other marketing activities, e.g., Ex. SS–TT (TC75 Selling

Guide); (ii) the instructions and information contained in Zebra’s product guides and instructional

materials; e.g., Ex. HH–MM (TC75); and (iii) instructional videos published by Zebra on

YouTube, e.g., Tips from our engineers–Staging Zebra devices with StageNow (June 29, 2020),

https://www.youtube.com/watch?v=bmXdMgEL3RE. Zebra knew its activities were inducing

infringement at least through actively comparing its products to Honeywell’s products and copying

Honeywell’s patented technology. See, e.g., Ex. QQ–XX.

       126.    Honeywell has consistently and continuously marked its products with the ’906

patent since at least 2020. See Ex. DDD–EEE. And, upon information and belief, Zebra tracks

Honeywell’s products, including producing internal marketing materials directly comparing

Zebra’s products to Honeywell’s products, including those consistently and continuously marked

with the ’906 patent. See Ex. QQ (TC52/TC57 Selling Guide); Ex. SS–TT (TC75 Selling Guide),

Ex. UU (DS3600 Series Selling Guide); Ex. VV (DS8100 Selling Guide); Ex. XX (MC9300

Series Selling Guide).




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       127.    Zebra contributes to infringement of the ’906 patent by others by manufacturing,

marketing, and selling the Accused Products, which are especially made for infringing use, with

the knowledge that such use is infringing, and with the knowledge that these products are put to

such infringing uses.

       128.    Despite its knowledge of the ’906 patent, Zebra infringed and continues to infringe

the ’906 patent. Accordingly, Zebra’s infringement was willful.

       129.    As a result of Zebra’s infringement of the ’906 patent, Honeywell has suffered and

continues to suffer irreparable harm for which it has no adequate remedy at law. Unless enjoined

by this Court, Zebra’s infringement will continue, resulting in further irreparable harm to

Honeywell.

       130.    Honeywell is entitled to recover damages from Zebra not less than a reasonable

royalty adequate to compensate for the infringement.

       131.    Zebra’s unlawful actions have caused, and will continue to cause, Honeywell

irreparable harm to its business and reputation unless enjoined.

                                  COUNT V
                    INFRINGEMENT OF U.S. PATENT NO. 10,171,767

       132.    Honeywell incorporates by reference the allegations contained in all preceding

paragraphs.

       133.    The ’767 patent is valid and enforceable.

       134.    Hand Held owns the entire right, title, and interest to the ’767 patent.

       135.    Zebra has directly infringed and continues to directly infringe at least claim 1 of the

’767 patent—both literally and under the doctrine of equivalents—by making, using, selling,

and/or offering for sale products that embody the inventions disclosed in the ’767 patent, including

Zebra’s TC75 and Zebra’s DS8108.


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       136.   To the extent the preamble is limiting, Zebra’s TC75 includes an SE4750 image

reader that captures image data including 2D barcodes:




Ex. X (TC75 Specification Sheet) at 3.

       137.   Zebra’s SE4750 comprises at least the Aptina AR0134 CMOS image sensor:




Ex. DD (SE4750 Integration Guide) at 12.

       138.   Zebra’s SE4750, including the Aptina AR0134 CMOS image sensor, comprises a

CMOS image sensor array comprising a plurality of pixels in a two-dimensional array:




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Ex. AA (AR0134 Datasheet) at 4.




Ex. CC (SE4750/SE4757 Specification Sheet) at 1.




Ex. CC (SE4750/SE4757 Specification Sheet) at 3.



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       139.    Zebra’s SE4750, including the Aptina AR0134 CMOS image sensor, is operable,

in a global shutter mode, to collect image data from a target:




Ex. AA (AR0134 Datasheet) at 1.

       140.    Zebra’s SE4750, including the Aptina AR0134 CMOS image sensor, enables the

collection of image data in the form of a two-dimensional barcode:




Ex. CC (SE4750/SE4757 Specification Sheet) at 2.




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Ex. AA (AR0134 Datasheet) at 3.

       141.   Zebra’s TC75 searches the image data for a two-dimensional barcode and decodes

two-dimensional barcodes in the image data:




Ex. Y (TC75 User Guide) at 109.




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Ex. Y (TC75 User Guide) at 192.




Ex. Y (TC75 User Guide) at 109.

       142.   Zebra’s TC75, including Zebra’s SE4750, comprises at least one illumination light

source comprising two light emitting diodes (LEDs), shown in below as indicated by red arrows:




(red arrow annotations added).




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Ex. Y (TC75 User Guide) at 191.

       143.   Zebra’s TC75, including Zebra’s SE4750 scan engine, when in a global shutter

mode, simultaneously exposes substantially all of the plurality of the pixels within the SE4750,

which contains the Aptina AR0134 CMOS image sensor, in response to an exposure control timing

pulse so as to enable the collection of image data including one and two-dimensional barcodes.




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Ex. AA (AR0134 Datasheet) at 3. See also, for example, the AR0134 Datasheet, which describes

the AR0134/AR0135 as a “CMOS Digital Image Sensor with Global Shutter.”




Ex. AA (AR0134 Datasheet) at 1. See also the AR0134 Datasheet that includes a block diagram

of the architecture of the AR0134/AR0135 image sensor, including the timing module in

communication with the CMOS based image sensor array.




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Ex. AA (AR0134 Datasheet) at 3.

       144.   Zebra’s TC75, including Zebra’s SE4750, is configured to illuminate a 1D or 2D

barcode using the illumination light source that includes two LEDs as discussed above. The

illumination occurs in response to an illumination control timing pulse. See, for example, the

AR0134 Datasheet that describes the AR0134 as including a “dedicated FLASH pin [that] can be

programmed to control external LED or flash exposure illumination.”




Ex. AA (AR0134 Datasheet) at 2. The AR0134 Developer Guide states that the Flash output signal

indicates when exposure of the AR0134 imaging sensor takes place.




Ex. BB (AR0134 Developer Guide) at 17.

See also testing data for the SE4750 showing illumination (in green) and exposure (in yellow):


                                               51
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       145.   Zebra’s TC75, including Zebra’s SE4750, is configured so the exposure control

timing pulse and the illumination control timing pulse are coordinated by a control module such

that the exposure and the illumination are interdependent. See, for example, the AR0134 Datasheet

that describes the AR0134 as including a “dedicated FLASH pin [that] can be programmed to

control external LED or flash exposure illumination.”




Ex. AA (AR0134 Datasheet) at 2. As discussed above, the AR0134 Developer Guide states that

the Flash output signal indicates when exposure of the AR0134 imaging sensor takes place.




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Ex. BB (AR0134 Developer Guide) at 17.

       146.   To the extent the preamble is limiting, Zebra’s DS8108 is a barcode reading device

that captures image data including 2D barcodes:




Ex. EE (DS8108 Reference Guide) at 35.




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Ex. FF (DS8100 Handheld Imager Datasheet) at 3, 4.


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       147.   Zebra’s DS8108 searches the image data collected in the global shutter mode for a

two-dimensional barcode and to decode the two-dimensional barcode:




Ex. EE (DS8108 Reference Guide) at 160.



       148.   A teardown image of Zebra’s DS8108 reveals an Aptina AR0134 CMOS image

sensor, which is used in, for example, Zebra’s SE4750:




       149.   Zebra’s DS8108, including the Aptina AR0134 CMOS image sensor, comprises a

CMOS image sensor array comprising a plurality of pixels in a two-dimensional array:




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Ex. AA (AR0134 Data Sheet) at 4.

       150.   Zebra’s DS8108, when in a global shutter mode, simultaneously exposes

substantially all of the plurality of the pixels within Zebra’s DS8108, which contains the Aptina

AR0134 CMOS image sensor, in response to an exposure control timing pulse so as to enable the

collection of image data including one and two-dimensional barcodes.




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Ex. AA (AR0134 Datasheet) at 3.

       151.    Zebra’s DS8108 comprises at least one illumination light source configured to

illuminate at least a portion of the target barcode:




Ex. EE (DS8108 Reference Guide) at 41.           See also the DS8100 Datasheet describing the

performance characteristics of the DS8108 as including two (2) red LEDs for illumination.




Ex. FF (DS8100 Handheld Imager Datasheet) at 3.




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       152.    Zebra’s DS8108 illuminates, using the illumination light source, a barcode in

response to an illumination control timing pulse:




Ex. EE (DS8108 Reference Guide) at 171.

       153.    See also, for example, testing data for the SE4750, which includes an AR0134

image sensor that is also found in the DS8108, showing illumination (in purple) and exposure (in

blue), where the CMOS image sensor pixels are simultaneously exposed to illumination.




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       154.    Zebra’s DS8108 is configured so the exposure control timing pulse and the

illumination control timing pulse are coordinated by a control module such that the exposure and

the illumination are interdependent as shown above.

       155.    Zebra also indirectly infringed and continues to indirectly infringe claim 1 of the

’767 patent with knowledge or by being willfully blind that its actions constitute infringement of

those claims, at least as of the filing of this Complaint.

       156.    On information and belief, Zebra had knowledge of or was willfully blind to the

’767 patent before Honeywell filed this suit. In fact, the Patent Office cited to U.S. Patent No.

7,568,628 and 8,733,660—parents to the ’767 patent—in office action rejections during the

prosecution of U.S. Patent Nos. 7,815,120, 8,474,723, 8,902,353, and 9,792,477, which are patents

assigned to Zebra’s wholly owned and controlled subsidiary, Symbol Technologies, Inc. See

Ex. M–P. U.S. Patent Publication No. 2014/0204257—which issued as U.S. Patent No. 9,578,269,

a parent of the ’767 patent—was also cited in the International Search Report for

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PCT/US2017/025920, an application owned by Zebra’s wholly owned and controlled subsidiary,

Symbol Technologies, Inc. See Ex. Q. In addition, Zebra’s wholly owned and controlled

subsidiary, Symbol Technologies, Inc., expressly listed U.S. Patent Nos. 7,568,628, 7,909,257,

and 8,733,660—parents of the ’767 patent—in Information Disclosure Statements filed during the

prosecution of U.S. Patent Nos. 8,998,089, 9,756,215, 9,792,477, 10,142,531, 10,769,394,

10,929,623. See Ex. R–W.

       157.    Zebra has induced and continues to induce infringement of the ’767 patent by

providing information and instruction on using the Accused Products in an infringing manner

evidence at least by: (i) the marketing and sales materials provided to its customers and potential

customers through its website and its other marketing activities, e.g., Ex. SS–TT (TC75 Selling

Guide), VV (DS8100 Selling Guide); (ii) the instructions and information contained in Zebra’s

product guides and instructional materials; e.g., Ex. X–Z (TC75), EE–GG(DS8108); and (iii)

instructional videos published by Zebra on YouTube, e.g., TC75 Overview (June 2, 2015),

https://www.youtube.com/watch?v=HeyAVSJ3V1o; Zebra DS8100: How to Set Up Your Scanner

For             Document              Capture              (Jan.            18,             2018),

https://www.youtube.com/watch?v=0RzV1Fhl6q4&t=10s.             Zebra knew its activities were

inducing infringement at least through actively comparing its products to Honeywell’s products

and copying Honeywell’s patented technology. See, e.g., Ex. QQ–XX.

       158.    Honeywell has consistently and continuously marked its products with the ’767

patent since at least 2019. See Ex. CCC–EEE. And, upon information and belief, Zebra tracks

Honeywell’s products, including producing internal marketing materials directly comparing

Zebra’s products to Honeywell’s products, including those consistently and continuously marked

with the ’767 patent. See Ex. QQ (TC52/TC57 Selling Guide); Ex. SS–TT (TC75 Selling Guide);



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Ex. UU (DS3600 Series Selling Guide); Ex. VV (DS8100 Selling Guide); Ex. XX (MC9300

Series Selling Guide).

        159.    Zebra contributes to infringement of the ’767 patent by others by manufacturing,

marketing, and selling the Accused Products, which are especially made for infringing use, with

the knowledge that such use is infringing, and with the knowledge that these products are put to

such infringing uses.

        160.    Despite its knowledge of the ’767 patent, Zebra infringed and continues to infringe

the ’767 patent. Accordingly, Zebra’s infringement was willful.

        161.    As a result of Zebra’s infringement of the ’767 patent, Honeywell has suffered and

continues to suffer irreparable harm for which it has no adequate remedy at law. Unless enjoined

by this Court, Zebra’s infringement will continue, resulting in further irreparable harm to

Honeywell.

        162.    Honeywell is entitled to recover damages from Zebra not less than a reasonable

royalty adequate to compensate for the infringement.

        163.    Zebra’s unlawful actions have caused, and will continue to cause, Honeywell

irreparable harm to its business and reputation unless enjoined.

                                        JURY DEMAND

        Pursuant to Federal Rule of Civil Procedure 38(b), Honeywell demands a jury trial on all

issues so triable.

                                    PRAYER FOR RELIEF

        WHEREFORE, Honeywell respectfully requests this Court enter judgement in

Honeywell’s favor and grant the following relief:

     A.         Judgement that the Asserted Patents are valid and enforceable, and infringed by

                Zebra;

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    B.       Compensatory damages no less than a reasonable royalty;

    C.       Pre- and post-judgement interest on all damages;

    D.       Judgment that the damages so adjudged be trebled in accordance with 35 U.S.C.

             § 284;

    E.       Declaring this case exceptional and awarding Honeywell its attorneys’ fees and

             costs, under 35 U.S.C. § 285;

    F.       Granting a permanent injunction; and

    G.       Granting any other relief as the Court may deem just and proper.

Dated: September 29, 2021                         Respectfully submitted,

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                                   TABLE OF EXHIBITS

Exhibit                                         Description
  A         Certified Copy of U.S. Patent No. 7,527,206
  B         Certified Copy of U.S. Patent No. 10,171,767
  C         Certified Copy of U.S. Patent No. 9,148,474
  D         Certified Copy of U.S. Patent No. 9,578,269
  E         Certified Copy of U.S. Patent No. 9,929,906
  F         Zebra’s Global Locations Webpage
            Craig Etkin, Zebra Technologies To Spend $2,354,400.00 To Occupy 26,160 Square
  G
            Feet Of Space In Austin Texas, INTELLIGENCE360 (Jan. 24, 2020)
  H         Press Release, Zebra To Acquire Xplore Technologies (July 5, 2018)
   I        Zebra’s “About Us” Webpage
  J         Zebra’s Corporate Fact Sheet
  K         Office Action Rejection of U.S. Patent App No. 11-739,888 (03-04-2009)
            PCT/US2009/038330 Search Report And Written Opinion of International Searching
  L
            Authority (12-24-2009)
  M         Office Action Rejection of U.S. Patent No. 8,902,353 (07-14-2014)
  N         Office Action Rejection of U.S. Patent No. 7,815,120 (03-02-2010)
  O         Office Action Rejection of U.S. Patent No. 8,474,723 (09-07-2011)
  P         Office Action Rejection To U.S. Patent No. 9,792,477 (08-10-2016)
            PCT/US2017/025920 Search Report And Written Opinion of International Searching
  Q
            Authority (2017-07-14)
  R         Information Disclosure Statement Filed With US Patent No. 8,998,089 (2013-03-11)
  S         Information Disclosure Statement Filed With U.S. Patent No. 9,756,215 (2017-03-07)
  T         Information Disclosure Statement Filed With U.S. Patent No. 10,142,531 (2017-07-28)
  U         Information Disclosure Statement Filed With U.S. Patent No. 10,769,394 (2018-03-22)
  V         Information Disclosure Statement Filed With U.S. Patent No. 10,929,623 (2017-08-30)
  W         Information Disclosure Statement Filed With U.S. Patent No. 9,792,477 (03-07-2017)
  X         TC75 Specification Sheet
  Y         TC75 User Guide
  Z         TC70X/TC75X User Guide
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                                    TABLE OF EXHIBITS

Exhibit                                         Description
 AA         AR0134 Datasheet
  BB        AR0134 Developer Guide
 CC         SE4750/SE4757 Specification Sheet
 DD         SE4750 Integration Guide
  EE        DS8108 Reference Guide
  FF        DS8100 Datasheet
 GG         DS8108 Quick Start Guide
 HH         StageNow Fact Sheet
  II        StageNow TechDocs
  JJ        Zebra DNA Developer Portal
 KK         StageNow Getting Started
  LL        StageNow Stage Client
 MM         StageNow Xpert Mode
 NN         Zebra TC5X Accessories Guide
 OO         TC52 User Guide
  PP        TC52 Integrator Guide
 QQ         Zebra TC52/TC57 Selling Guide (2019)
 RR         MC3200 Selling Guide (2015)
  SS        Zebra TC70/TC75 Selling Guide (2015)
  TT        Zebra TC70/TC75 Selling Guide (2018)
 UU         Zebra DS3600 Series Selling Guide (2016)
 VV         Download Zebra DS8100 Selling Guide (2021)
 WW         Zebra MC9200 Selling Guide (2016)
 XX         Zebra MC9300 Selling Guide (2019)
 YY         2013 Honeywell Patent Marking Website
  ZZ        2014 Honeywell Patent Marking Website
 AAA        2015 Honeywell Patent Marking Website
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                                 TABLE OF EXHIBITS

Exhibit                                      Description
 BBB        2016 Honeywell Patent Marking Website
 CCC        2019 Honeywell Patent Marking Website
 DDD        2020 Honeywell Patent Marking Website
 EEE        2021 Honeywell Patent Marking Website
